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                                                                                 U.S. BANKRUPTCY COURT
                                                                               NORTHERN DISTRICT OF TEXAS


                                                                                  ENTERED
                                                                               TAWANA C. MARSHALL, CLERK
                                                                                  THE DATE OF ENTRY IS
                                                                                 ON THE COURT'S DOCKET



The following constitutes the ruling of the court and has the force and effect therein described.



 Signed August 5, 2014
______________________________________________________________________



                              UNITED STATES BANKRUPTCY COURT
                                NORTHERN DISTRICT OF TEXAS

            PHILIP S. WARREN and                 §             Case No. 11-30441SGJ-13
            TERESA W. WARREN                     §
                                                 §             Chapter No. 13
                           Debtors               §


             ORDER DISMISSING CHAPTER 13 CASE ON REQUEST BY DEBTOR

            Upon consideration of the Debtor’s Request for Dismissal of the above
     referenced Chapter 13 case, it is ORDERED that:

             The case be and the same is hereby dismissed and all automatic stays and any
     injunctions obtained by the Debtor in any proceeding related to this case are hereby
     terminated and the provisions of 11 U.S.C. § 349 are herewith effective. The Chapter
     13 Trustee is hereby directed to file a final report and account of his administration.



                                       # # # END OFORDER # # #



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     Order Dismissing Chapter 13 Case on Request by Debtor
